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     10. I was required to provide each client's information, including "inmate number" (which we
         interpreted to mean alien number), facility name, and a street address. The form also asks
         about the type of visit (in-person, video, or phone) and whether the attorney plans to
         review documents or bring a laptop.
     11. I brought G-28 forms and gave them to the officer along with the visitation request form
         and he promised to deliver them to the person who will contact the office and schedule the
         visits. He explained that staff would ask the detainees if they wanted to be represented and
         that once the detainees agree to representation, they will call within twenty-four to
         forty-eight hours to schedule the visit. It was unclear whether this had happened. There
         was no E-59 form available.
     12. When I asked how I would be able to request a visit in the future, he informed me that I
         would have to come back and complete the same form and would be notified in
         twenty­four to forty-eight hours after submitting the form in person.
     13. During my time at the checkpoint, I saw other attorneys waiting outside. Visitors,
         including detained persons relatives, were gathered across the two-road street near a
         fence, parked along the right side of the street.
     14. We were advised that there was an outside air-conditioned bathroom for use, but the
         individual that informed us could not attest to the cleanliness of the bathroom since he did
         not use it on that day by the time we spoke. Ultimately, it appeared that no one was being
         allowed inside the detention center for visits.
     15. I was on site for approximately 90 minutes. I was denied entry past the perimeter, which
         is not within sight of the general facility. I left the checkpoint area at approximately 1:30
         p.m.
     16. On Friday, July 11, 2025, Yanick Laroche received an email from
         admin@southerndetention.com that they could accommodate an hour video visit between
         9:30am- 5:00pm for Saturday, July 12, 2025. I instructed Ms. Laroche to immediately
         respond and accept a 9:30 a.m. or 10:30 a.m. video visit start time. They responded to
         submit a name or names for the visit. They said we can have an hour to talk with the
         detainees.
     17. I responded with four names from the list of nine names I had previously provided and
         waited for a response. Ms. Laroche sent an additional email providing only one name and
         the other three names as alternatives.
     18. Very late Friday night, Ms. Laroche received an email stating that the video visit was
         cancelled for two reasons: (1) the 9:30 a.m. slot was already taken, and (2) there was a
         tour scheduled for elected officials on Saturday, July 12, 2025.
     19. As of today, there has been no call to schedule visits with the detainees.
     20. As a result of the lack of any policy or process for me to contact prospective clients
         incarcerated at Alligator Alcatraz, AIJ is unable to represent these clients in their
         immigration proceedings. AIJ is unable to carry out a core component of its public
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